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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
RYAN COSGROVE and CLIVE RHODEN,

                                   Plaintiffs,
                                                                           19 CIVIL 8993 (VM)
                 -against-
                                                                             JUDGMENT
BLUE DIAMOND GROWERS,

                                    Defendant,
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Decision and Order dated December 7, 2020, the Motion (Dkt. No. 18) of

defendant Blue Diamond Growers to dismiss the Amended Complaint (Dkt. No. 15) of plaintiffs

Ryan Cosgrove and Clive Rhoden, on behalf of themselves and all others similarly situated

(Collectively “Plaintiffs”) is granted; accordingly, this case is closed.

Dated: New York, New York
          December 7, 2020


                                                                         RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                            Deputy Clerk
